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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAMES CHARLES MEININGER, :
: CIVIL ACTION NO. 3:20-CV-1563
Plaintiff, : (JUDGE MARIANI)
: (Magistrate Judge Carlson)
v. :
CITIZENS VOICE NEWSPAPER, et al.,
Defendants.
ORDER
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AND NOW, THIS- DAY OF OCTOBER 2020, upon review of Magistrate Judge
Martin C, Carlson's Report and Recommendation (“R&R) (Doc. 7) for clear error or manifest
injustice, IT S HEREBY ORDERED THAT:
1. The R&R (Doc. 7) is ADOPTED for the reasons set forth therein;
2. The Clerk of Court is directed to DISMISS the Complaint (Doc. 1) WITHOUT
PREJUDICE;
3. Plaintiff is granted leave to file an amended complaint within twenty-one (21) days

of the date of this Order;

4. Failure to timely file an amended complaint will result in dismissal of this action with

prejudice. oN

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Robert D. Mariani_7

United States District Judge

 
